          Case 1:20-cr-00314-GHW Document 141 Filed 06/22/22 Page 1 of 1
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UNITED STATES DISTRICT COURT                                        DOC #: _________________
SOUTHERN DISTRICT OF NEW YORK                                       DATE FILED: 6/22/2022
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   UNITED STATES OF AMERICA,                                  :
                                                              :
                                                              :         1:20-cr-314-GHW
                                 – against–
                                                              :
                                                              :             ORDER
   ETHAN PHELAN MELZER,                                       :
           a/k/a “Etil Reggad,”                               :
                                                              :
                                                              :
                                            Defendant.
                                                              X
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GREGORY H. WOODS, United States District Judge:

        In addition to submitting the parties’ lists of potential jurors on June 24, 2022, as discussed

on the record during the June 16, 2022 hearing, see also Dkt. No. 131, the Government is ordered to

submit to the Court scans of the completed juror questionnaires on June 24, 2022. The

Government should submit those scans via a CD or USB-drive delivered to the Court’s chambers in

the Daniel Patrick Moynihan Courthouse, 500 Pearl Street, New York, NY 10007.

        SO ORDERED.

Dated: June 22, 2022
New York, New York                                           __________________________________
                                                                     GREGORY H. WOODS
                                                                    United States District Judge
